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                            UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF TEXAS
                                  AUSTIN DIVISION

In re CASSAVA SCIENCES, INC.             §
SECURITIES LITIGATION                    § Master File No. 1:21-cv-00751-DAE
                                         §
                                         § CLASS ACTION
This Document Relates To:                §
                                         §
         ALL ACTIONS                     §
                                         §
                                         §


      AFFIDAVIT OF KEVIN LAVELLE IN SUPPORT OF PLAINTIFFS’ OPPOSED
        MOTION TO SUPPLEMENT THE CONSOLIDATED COMPLAINT FOR
              VIOLATIONS OF THE FEDERAL SECURITIES LAWS




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         I, Kevin A. Lavelle, declare, under penalty of perjury:

         1.         I am a member of the law firm of Robbins Geller Rudman & Dowd LLP, the State

Bar of California, am admitted pro hac vice to the above-referenced action, and am lead counsel for

lead plaintiff Mohammad Bozorgi. I submit this affidavit in support of the Plaintiffs’ Opposed

Motion to Supplement the Consolidated Complaint for Violations of the Federal Securities Laws.

         2.         Attached is a true and correct copy of the following exhibits:

         Exhibit A:        [Proposed] Supplement to the Consolidated Complaint for Violations of the
                           Federal Securities Laws.

         Exhibit B:        Email conversation between Kevin Lavelle and Adam Miller RE:
                           Supplementing the Complaint.

         Exhibit C:        Proposed Supplemented Complaint, including the supplemental paragraphs in
                           Exhibit A and updates to the putative Class Period and the Plaintiffs’
                           transactions and alleged losses during the updated Class Period.

         I declare under penalty of perjury that the foregoing is true and correct. Executed on

February 22, 2024.

                                                                  /s/ Kevin A. Lavelle
                                                                 KEVIN A. LAVELLE




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